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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHO
                                       EASTERN DIVISION


 UNITED STATES OF AMERICA,                            )       Case No. 1:11CR91-15
                                                      )
                  Plaintiff,                          )       Judge Sara Lioi
                                                      )
         vs.                                          )       REPORT AND RECOMMENDATION
                                                      )       OF MAGISTRATE JUDGE
 JASHON HUNT,                                         )
                                                      )
                  Defendant.                          )       Magistrate Judge Kenneth S. McHargh
                                                      )


         Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

 Judge Kenneth S. McHargh for purposes for receiving, on consent of the parties, the defendant’s offer

 of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

 of the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

 submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

 accepted and a finding of guilty entered, the following, along with the transcript or other record of the

 proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

 concerning the plea of guilty proffered by the defendant.

         1.       On June 30, 2011, the defendant, accompanied by counsel, proffered a plea of guilty

                  to count (s) 1 of the Indictment.

         2.       Prior to such proffer, the defendant was examined as to his competency, advised of the

                  charge and consequences of conviction, informed that the Federal Sentencing

                  Guidelines are advisory and the Court must consider them but the Court may impose

                  any sentence authorized by law, notified of his rights, advised that he was waiving all

                  his rights except the right to counsel, and, if such were the case, his right to appeal, and

                  otherwise provided with the information prescribed in Fed. R. Crim. P. 11.
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                                                    2

         3.      The parties and counsel informed the court about any plea agreement between the

                 parties, the undersigned was advised that, aside from such agreement as described or

                 submitted to the court, no other commitments or promises have been made by any

                 party, and no other agreements, written or unwritten, have been made between the

                 parties.

         4.      The undersigned questioned the defendant under oath about the knowing, intelligent,

                 and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

                 offered knowingly, intelligently, and voluntarily.

         5.      The parties provided the undersigned with sufficient information about the charged

                 offense(s) and the defendant’s conduct to establish a factual basis for the plea.

         In light of the foregoing and the record submitted herewith, the undersigned finds that the

 defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

 United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

 recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.

                                                         s/Kenneth S. McHargh
                                                   Kenneth S. McHargh
                                                   United States Magistrate Judge

 Date: June 30, 2011



         ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

 within fourteen (14) days of receipt of this notice. Failure to file objections within the specified time

 WAIVES the right to appeal the Magistrate Judge’s recommendation. See, United States v. Walters,

 638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).
